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EXHIBIT A
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RENEE F. KENNEDY (SBN 24012954)
Lead Counsel

Federal Bar No.: 2129107

(admitted pro hac vice)
reneekennedy.esq@gmail.com

1620 §S. Friendswood Dr., Ste. Apple
Friendswood, Texas 77546

Telephone: 832.428.1552

PETER KAFIN (SBN 301886)
law@kafin.name

P.O. Box 748

Fort Bragg, California 95437
Telephone: 707.357.4395

Attorneys for Plaintiff
ENGLISH

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

FABRIENNE ENGLISH, On behalf of ) Case No. 3:14-cv-01619-WHO
themselves and all others similarly situated, )
) DECLARATION OF BATHENA DIXON
Plaintiffs, )
)
Vv. )
) Judge: William H. Orrick
APPLE INC., APPLECARE SERVICE ) Courtroom: 2, 17th Floor
COMPANY, INC., and APPLE CSC INC., )
) Complaint Filed: November 4, 2013
Defendants. ) Transfer to N.D. Cal.: April 3, 2014
) Trial Date:
)
)
I, BATHENA DIXON, declare:
1. I am over 18 years of age, and I have personal knowledge of the following facts and

would and could competently testify thereto in open court if called to do so.

Declaration of Bathena Dixon
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2. All Exhibits are true and correct copies.

3. My name is Bathena Dixon and I am an expert in this case. I worked at the Elk Grove
Apple facility training employees and subcontractors how to assemble, task, troubleshoot, repair,
quality assurance, and visually inspect iPhones, iPads, and Monitors. I also worked on the lines
overseeing this process as well at Elk Grove which is a re-manufacturing facility.

4, I was trained on how to take apart iPhones (including the iPhone 4) and put them back
together as well as train others how to do it because, for example, we would have to take some parts
out in order to access other parts for repair or replacement. There were times that I had to gut an entire

phone and then put it back together. This would happen when we would have multiple testing failures.

5. I know how to take apart an iPhone 4 and re-assemble it.

6. You can do non-destructive testing and it is not expensive nor complicated at all.

7. You can also do non-damaging component testing.

8. I know the signs to look for in a remanufactured and/or reclaimed phone. I’ve opened

up so many phones I couldn’t even venture a guess as to how many, and have trained others how to as
well as that was part of my job. I’ve also replaced parts with refurbished parts before so am familiar
with what refurbished parts look like, and have overseen people repairing and replacing parts as well.
Some indicators of a refurbished or used phone include fingerprints on the parts, scratches and stickers
just to name a few indicators. (Stickers are on many refurbished parts and are supposed to be removed
before placing the parts in the phone; however, people do not always take them off before placing them
in the phone.)

9. I should be able to tell if Ms. English’s iPhone 4 has been opened before. Some
examples include: a visual inspection to look at the screws to see if there is wear and tear. You can tell

if the screw is stripped or has markings on the screw. You can look to see if the seal has been torn or

Declaration of Bathena Dixon
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damaged previously. Also, I have seen the seal change colors once the phone is opened and exposed to
light, dust, water, etc. There are other possible ways to tell as well.

10. In order to properly perform some of the tests, we will need to replace the screen which
Ms. Kennedy told me was broken.

11. An office or conference room is a perfectly acceptable environment to perform testing.
Our work areas and the conditions at the Apple Elk Grove plant were certainly not sterile and were an
open dust environment.

12. I will be conducting a physical inspection; check to see if the phone has been opened
before; replacing the broken screen, running diagnostics and tests with software and applications;
taking out the parts from the phone and examining them and testing; and documenting them with
pictures and video.

13. Thang Huynh as well as a fingerprint expert and maybe one other expert experienced
with the iPhone 4 may be present as well.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct and that this declaration was executed on the 29th day of October, 2016 in
San Jose, California. (~~ DocuSigned by:

| Batlena Doron

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Bathena Dixon

Declaration of Bathena Dixon
3:14-cv-01619-WHO

 
